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                       UNITED STATES COURT OF APPEALS                     FILED
                              FOR THE NINTH CIRCUIT                        SEP 17 2021
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
   KIMBERLY ARCHIE, as survivors of              No. 20-55081
   decedent Paul Bright Jr.; JO CORNELL, an
   individual, and as survivor of decedent Tyler D.C. No.
   Cornell,                                      2:16-cv-06603-PSG-PLA
                                                 Central District of California,
                   Plaintiffs-Appellants,        Los Angeles

     v.                                           ORDER

   POP WARNER LITTLE SCHOLARS,
   INC., a nonprofit corporation,

                   Defendant-Appellee.

   Before: IKUTA, BENNETT, and R. NELSON, Circuit Judges.

          Defendant-Appellee’s request for publication is DENIED. Dkt. No. 63.
